                     Case 2:24-mj-00944-GBW Document 1 Filed 07/05/24 Page 1 of 2


AO 9l (Rev. l1ll l) Criminal Complaint



                                         UNrrBo SrarBs Drsrrucr CoURT
                                                              for the
                                                    District of New Mexico

                  United States of America
                              v.
                                                                        Case No. 24-944MJ
                      Raimundo Gomez




                           Defendant(s)


                                               CRIMINAL COMPLAINT
          [, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of                   July 3,2024                in the county of              Dona Ana          in the

     State   and        District of        New Mexico        , the defendant(s) violated:

             Code Section                                                  Offense Description
8 USc 1324 (a)(1XA)(vXl)                      Conspiracy to Transport lllegal Aliens




          This criminal complaint is based on these facts:

See attached affidavit.




          d Continued on the attached sheet.

                                                                                            Comp lainant's s ignature

                                                                                       Michael P. Beers, SpecialAgent
                                                                                             Printed name and tille
                   W +oLorl""t*'
Sworn to before me and signed in my presence.



Date:             0710512024



City and state:                    Las Cruces, New Mexico                     Gregory B. Wormuth, U.S. Magistrate Judge
                                                                                             Printed name and title
        Case 2:24-mj-00944-GBW Document 1 Filed 07/05/24 Page 2 of 2


                             I.INITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

                                                VS

                                       Raimundo GOMEZ

On July 2"d,2024, United States Border Patrol agents (BPA) from Las Cruces, New Mexico
were conducting traffic check operations at the immigration checkpoint located at Interstate 10,
mile marker 120 west of Las Cruces. At approximately I 1:20 pm, a red Freightliner tractor with
flatbed trailer Florida license plates approached the primary inspection and was stopped by
BPAs. The primary BPA approached the driver and identified himself as a BPA and began his
immigration inspection. The BPA questioned the driver, later identified as Raimundo GOMEZ,
as to his citizenship. GOlldF,Z provided a Permanent Resident card and his Florida driver's
license. The BPA asked GOMEZ if any additional passengers were in the passenger
compartment of the vehicle. GOMEZ did not answer. A Supervisory BPA (SBPA) shined a
flashlight through the window into the sleeper compartment of the tractor. The SBPA reported to
the primary BPA that he could see additional passengers attempting to avoid detection in the
sleeper compartment. GOMEZ was instructed to turn off the ignition of the vehicle. The BPA
instructed GOMEZ to exit the vehicle. The BPA entered the vehicle and encountered l5
additional passengers riding unrestrained on the top and bottom bunks of the sleeper
compartment of the vehicle. All 15 passengers were questioned as to their immigration status and
citizenship. All 15 passengers admitted being in the United States illegally without valid
immigration documentation. All passengers were detained and transported to Las Cruces Border
Patrol station for processing. GOMEZ was detained and transported to the Las Cruces Border
Patrol station for further questioning.

Homeland Security Investigations (HSI) Special Agents (SAs) conducted a post-Miranda
interview of GOMEZ. GOMEZ stated he had been working for the past month transporting
illegal aliens from El Paso, Texas to Deming, New Mexico. GOMEZ stated that during that
month, he had transported five additional groups of approximately seven to eight illegal aliens
per group. GOMEZ stated that this group of 15 was the largest group he has transported.
GOMEZ stated that he was aware that the individuals that he was picking up were illegal aliens
that did not have valid documentation to be or reside in the United States legally. GO.ldEZ stated
that he agreed to transport the illegal aliens to Deming, NM for $800 per alien. GOMEZ stated
that he expected to be paid for the l5 illegal aliens upon delivery of the aliens to Deming, or the
next time that GOMEZ drove through El Paso, TX.




                                                     Michael P. Beers
United States Magistrate Judge                       Special Agent
District of New Mexico                               Homeland Security Investigations


Subscribed and swom to before me on July 5th,2024.
